Appeal: 16-1497    Doc: 48       Filed: 03/20/2017 Pg: 1 of 1
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                          Supreme Court of the United States
                                 Office of the Clerk
                             Washington, DC 20543-0001
                                                                         Scott S. Harris
                                                                         Clerk of the Court
                                                                         (202) 479-3011
                                            March 16, 2017


        Clerk
        United States Court of Appeals for the Fourth
        Circuit
        1100 East Main Street
        Room 501
        Richmond, VA 23219


              Re: Scottsdale Capital Advisors Corporation, et al.
                  v. Financial Industry Regulatory Authority, Inc.
                  No. 16-1124
                  (Your No. 16-1497)


        Dear Clerk:

             The petition for a writ of certiorari in the above entitled case was filed on
        March 16, 2017 and placed on the docket March 16, 2017 as No. 16-1124.




                                                Sincerely,

                                                Scott S. Harris, Clerk

                                                by

                                                Michael Duggan
                                                Case Analyst
